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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL DARDASHTIAN, individually and on

behalf of COOPER SQUARE VENTURES, LLC

NDAP, LLC and CHANNEL REPLY, LLC
Plaintiffs,

Case No. 17 CV 4327 (LLS)

-against-

DAVID GITMAN, JEREMY FALK, SUMMIT

ROCK HOLDINGS, LLC, ACCEL COMMERCE,

LLC, DALVA VENTURES, LLC,

KONSTANTYN BAGAIEV, OLESKSII

GLUKHAREV and CHANNEL REPLY, INC.,
Defendants.

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DECLARATION OF MARK D. MEREDITH, ESQ. IN SUPPORT
OF DEFENDANTS DAVID GITMAN, ACCEL COMMERCE, INC., DALVA
VENTURES, LLC, AND CHANNEL REPLY, INC.'S MOTION TO DISMISS

I, MARK D. MEREDITH, declare as follows:

1, I am admitted to practice in the United States District Court for the Southern
District of New York and am associated with Dentons US LLP, counsel for Defendants David
Gitman, Accel Commerce, LLC, Dalva Ventures, LLC and Channel Reply, Inc. I submit this
declaration to place before the Court certain documents and information in support of the Motion
to Dismiss.

2. Attached hereto as Exhibit 1 is a true and correct copy of the Operating
Agreement of Cooper Square LLC (the "CSV Operating Agreement’).

3. Attached hereto as Exhibit 2 is a true and correct copy of the Limited Liability

Company Operating Agreement of NDAP, LLC (the "NDAP Operating Agreement").

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4, Attached hereto as Exhibit 3 is a true and correct copy of the Operating
Agreement of Channel Reply, LLC (the "CR LLC Operating Agreement").

Executed this 14th day of July, 2017, in New York, New York.

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Mark D. Meredith, Esq.

 

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